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MINUTE ENTRY
ROBY, C. M. J.
October 15, 2019

                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

 CHLOE CORTEZ ET AL                                              CIVIL ACTION
 VERSUS                                                          NO:    18-08971
 REGGIE PITRE ET AL                                              SECTION: “T” (4)

       A Settlement Conference was held on this date. Participating were: Plaintiffs, Chloe Cortez

and Jason Cortez; William Most representing the plaintiffs; Keith Detweiler representing the

defendant, Reggie Pitre and J. Scott Thomas representing the defendant, Golden Meadow Town.

Negotiations were successful and a settlement was reached. The agreement was recorded by Court

Reporter Jodi Simcox, 504-589-7780.

       The District Judge’s staff has been notified to enter a dismissal with a retention of

jurisdiction for settlement enforcement purposes.




CLERK TO NOTIFY:
District Judge Greg G Guidry



MJSTAR:      3:00
